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                                 UNITED STATES DISTRICT COURT
 1                             NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
 2

 3
     FEDERAL TRADE COMMISSION,
 4
                Plaintiff,
 5
           v.                                                Case No. 17-cv-00220-LHK-NMC
 6
     QUALCOMM INCORPORATED, a
 7   Delaware Corporation,
 8              Defendant.
 9

10   IN RE: QUALCOMM ANTITRUST                               Case No. 17-md-02773-LHK-NMC
     LITIGATION
11

12

13                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
14

15

16   IN RE: QUALCOMM LITIGATION                              Case No. 3:17-cv-00108-GPC-MDD
17

18

19      JOINT STIPULATION AND [PROPOSED] DISCOVERY COORDINATION ORDER
20
            WHEREAS the Parties desire to minimize the burden and expense of duplicative fact
21
     discovery across cases (without limiting or otherwise modifying the appropriate topics of discovery
22
     in each case); and
23
            WHEREAS the Parties agree that fact discovery in the above-captioned actions should be
24
     coordinated as provided herein;
25
            THE PARTIES THEREFORE STIPULATE AND AGREE AS FOLLOWS:
26
        1. For the purpose of this Order:
27

28
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 1                   a. “Apple” refers to Apple Inc.

 2                   b. “CMs” refers to Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision

 3                        Industry Co., Ltd., Pegatron Corporation, and Wistron Corporation.

 4                   c. “Contact Attorneys” refers to counsel designated by each Party and identified on

 5                        Schedule A.

 6                   d. “FTC” refers to the Federal Trade Commission.

 7                   e. “FTC Litigation” refers to Federal Trade Commission v. Qualcomm Incorporated,

 8                        Case No. 17-cv-00220-LHK (N.D. Cal.).

 9                   f.    “MDL Litigation” refers to In re Qualcomm Antitrust Litigation, Case No. 17-md-

10                        02773-LHK (N.D. Cal.), including all consolidated member cases (both current and

11                        any that may be transferred and consolidated in the future).

12                   g. “MDL Plaintiffs” refers collectively to the plaintiffs named in any consolidated or

13                        member case in the MDL Litigation, including in any consolidated complaint that is

14                        filed in the MDL Litigation.

15                   h. “ND Cal Litigation” refers collectively to the FTC Litigation and MDL Litigation.

16                   i. “Patents-In-Suit” means “Original Patents-in-Suit” as defined in the First Amended

17                        Complaint in the SD Cal Litigation (ECF No. 83).

18                   j. “Parties” or “Party” refers to the FTC, MDL Plaintiffs, Apple, the CMs, and

19                        Qualcomm.

20                   k. “Pending Cases” refers collectively to the FTC Litigation, the MDL Litigation, and

21                        the SD Cal Litigation.

22                   l. “Protective Orders” refers to the Protective Order and Supplemental Protective Orders

23                        in the FTC Litigation (ECF Nos. 81, 137, 205, 220, 230, 306, 324, 371, 374, 384, 388,

24                        392, 393, 410, 420, 430 and 447), the Protective Order and Supplemental Protective

25                        Orders in the MDL Litigation (ECF Nos. 46, 86, 148, 149, 182, 197, 211, 213, 216,

26                        218, 221, 244, 249 and 259), and the Protective Order in the SD Cal Litigation (ECF

27                        No. 163), in each case as may be supplemented and amended from time to time.

28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
     Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
     Cal.), 17-cv-00108-GPC (S.D. Cal.), 17-cv-01010-GPC (S.D. Cal.)   2
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 1                   m. “Qualcomm” refers to Qualcomm Incorporated.

 2                   n. “SD Cal Litigation” refers to the consolidated cases Apple Inc. v. Qualcomm

 3                        Incorporated, Case No. 17-cv-00108-GPC (S.D. Cal.) and Qualcomm Incorporated v.

 4                        Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd.,

 5                        Pegatron Corporation, and Wistron Corporation, Case No. 17-cv-01010-GPC (S.D.

 6                        Cal.).

 7        2. Counsel for the Parties in each Pending Case shall be bound by this Order.

 8                                     COORDINATION OF WRITTEN DISCOVERY

 9        3. Any Party that serves or has served a written discovery request under Rule 31, 33, 34, or 36

10             on another Party in any of the Pending Cases shall provide a copy of the request to the

11             Contact Attorneys in each Pending Case, except insofar as such requests are served in the SD

12             Cal Litgation and relate solely to claims concerning the Patents-In-Suit in the SD Cal

13             Litigation.

14        4. Any Party that responds or has responded to a written discovery request in any of the Pending

15             Cases shall serve its response and produce any responsive materials to the Contact Attorneys

16             in each Pending Case, except insofar as such requests are served in the SD Cal Litigation and

17             relate solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

18        5. A Party (the “Issuing Party”) that serves, after issuance of this Order, a subpoena or other

19             request (including any request for international judicial assistance) for the production of

20             documents or other materials on a person or entity not a Party (“Non-Party”) to any Pending

21             Case shall promptly (a) provide a copy of the subpoena or other request to all Contact

22             Attorneys; (b) provide a copy of this Order and the Protective Orders in effect in each of the

23             Pending Cases to the Non-Party; (c) notify the Non-Party that, pursuant to this Order,

24             materials produced in response to such subpoena or other request will be produced in each

25             Pending Case, and (d) request that the Non-Party simultaneously produce materials to the

26             Contact Attorneys in each Pending Case. If, notwithstanding such request, the Non-Party

27             does not produce the materials to the Contact Attorneys in each Pending Case, the issuing

28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1             Party shall, as permitted by law, provide a copy of all materials produced pursuant to the

 2             subpoena or other request to the Contact Attorneys in each of the Pending Cases within five

 3             (5) calendar days after receipt of the materials from the Non-Party. If a Party has served a

 4             Non-Party subpoena or other document request prior to the issuance of this Order, the Issuing

 5             Party will provide a copy of the subpoena or other request to all Contact Attorneys, advise the

 6             Non-Party that the document production is to be shared across the Pending Cases and provide

 7             an opportunity of ten (10) days to object, and shall provide a copy of all materials produced

 8             pursuant to the subpoena or other request to the Contact Attorneys in each of the Pending

 9             Cases within five (5) calendar days after the later of (1) expiration of such ten (10) day

10             period, or (2) the Party’s receipt of materials from the Non-Party. If a Party modifies or

11             extends the time to respond to a Rule 45 document subpoena in writing, it shall promptly

12             inform Contact Attorneys in each Pending Case of that written extension or modification.

13             This paragraph shall not apply to a subpoena or other request served in the SD Cal Litigation

14             that relates solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

15        6. All written responses to discovery requests and subpoenas and materials provided in response

16             to discovery requests and subpoenas in any Pending Case shall be treated as having been

17             obtained through discovery in each Pending Case, except insofar as such responses and

18             materials relate solely to claims concerning the Patents-In-Suit in the SD Cal Litigation. Any

19             such materials shall be clearly designated “SD Cal Litigation Only.”

20                                            COORDINATION OF DEPOSITIONS

21        7. Pursuant to Fed. R. Civ. P. 30(a)(2)(A), leave is granted to all Parties to conduct in excess of

22             ten (10) depositions per side, provided that nothing in this Order shall prevent the FTC and

23             Qualcomm from entry into an agreement limiting the number of depositions to be noticed or

24             deemed taken in the FTC Litigation, or from seeking a court order imposing such a

25             limitation. For avoidance of doubt, this order supplants the deposition hours limitations set

26             forth in the September 11, 2017 Order Granting Joint Motion for Approval of Stipulation

27             Regarding Scheduling and Discovery Matters in the SD Cal Litigation (“September 11, 2017

28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1             Order”), except insofar as a deposition relates solely to claims concerning the Patents-In-Suit

 2             in the SD Cal Litigation, in which case the party noticing the deposition shall so indicate in

 3             such notice and the September 11, 2017 Order will apply.

 4        8. Depositions subpoenaed, noticed, and/or taken in any of the Pending Cases shall be treated as

 5             if they were noticed and taken in each Pending Case (to the extent, absent agreement of the

 6             parties or leave of court, the deposition is taken during the court-ordered discovery period for

 7             the particular Pending Case), except insofar as a deposition relates solely to claims

 8             concerning the Patents-in-Suit in the SD Cal Litigation, in which case the party noticing the

 9             deposition shall indicate in such notice and/or during such deposition; provided that, absent a

10             Court order or agreement of the FTC and Qualcomm to the contrary, only depositions noticed

11             in the FTC Litigation shall be treated as having been noticed and taken in the FTC Litigation.

12        9. A Party issuing a deposition notice or subpoena or seeking a request for international judicial

13             assistance in obtaining testimony of any non-Party witness (the “Subpoenaing Party”) shall

14             provide at least five (5) days advance notice to Contact Attorneys in each Pending Case.

15             Other Parties shall be entitled to join the Subpoenaing Party’s notice, subpoena, or request by

16             notice to Contact Attorneys in each Pending Case within such five (5) day period. The

17             Parties also will preserve the right to add topics to any 30(b)(6) or similar subpoena or notice.

18             The Parties shall make reasonable good-faith efforts to coordinate the scheduling of the

19             deposition with each other and with any Non-Party witness, provided, however, that no Party

20             may unreasonably delay a deposition.

21        10. For Party depositions, prior to issuing a notice for a date certain, the noticing Party shall

22             notify the Contact Attorneys for all Parties of its intent to depose a particular witness, and

23             request available dates for the witness from counsel for the Party whose witness’s deposition

24             is sought. Within seven (7) days of receiving the request, the Party to whom such a request is

25             made shall provide at least one (1) proposed deposition date (i.e., one (1) set of two (2) days

26             for a fourteen (14) hour deposition) and use good faith efforts to provide two (2) proposed

27             deposition dates. For depositions of witnesses requested after entry of this Order, if any Party

28
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 1             proposes only one (1) deposition date for a particular witness, it shall not propose any date

 2             that would require more than one (1) of its other witnesses to be deposed on the same date,

 3             absent agreement of all Parties. If other Parties intend to depose the same witness, they must

 4             provide notice to the Contact Attorneys for all Parties of such intent within seven (7) days of

 5             being notified that such witness’s deposition is being sought.1 If the Party whose witness is

 6             being sought for deposition is informed that multiple Parties intend to depose that witness,

 7             that Party shall provide deposition dates with sufficient time for questioning by multiple

 8             Parties. The noticing Party or Parties shall use their best efforts to schedule the deposition on

 9             a proposed deposition date mutually agreeable to all Parties. The Party whose witness’s

10             deposition is sought shall retain its right to formally object (by motion for protective order or

11             otherwise) to the taking of a particular deposition or to the timing or scope of such

12             deposition.

13        11. Counsel in any of the Pending Cases shall be entitled to attend depositions noticed in each

14             Pending Case, so long as they agree to be bound by the Protective Order entered in one of the

15             Pending Cases, except insofar as such depositions relate solely to claims concerning the

16             Patents-In-Suit in the SD Cal Litigation, in which case only counsel for Parties to the SD Cal

17             Litigation may attend. A Party’s in-house counsel bound by a protective order may attend

18             depositions of its current or former employees, and if the examining party intends to ask

19             questions about information produced in discovery that has been designated for outside

20             counsel only, the examining party shall indicate that it intends to ask about information so

21             designated, allowing the in-house counsel to excuse himself or herself for that portion of the

22             examination. Non-noticing counsel may ask questions and raise objections at depositions to

23             the extent allowed under the Federal Rules of Civil Procedure. The Parties shall meet and

24             confer in advance of each deposition to allocate deposition time, if necessary, and attempt to

25             coordinate a single Party to make objections. Any Party may avail itself of any objection to

26        1
          Note, for any deposition notice issued prior to the filing of this Proposed Order, the seven day
27   notice period starts from the filing of this Proposed Order.

28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1             the form of a question made by any other Party properly in attendance at a deposition without

 2             the need to be in attendance or express its joinder in the objection.

 3        12. The time limits on depositions established by Fed. R. Civ. P. 30(d)(1) shall apply to all

 4             depositions, except that in the event that a deposition of a Non-Party is noticed in both the

 5             ND Cal Litigation and the SD Cal Litigation, the Parties agree that, absent good cause, they

 6             will not oppose an extension of the time limit for that deposition to up to fourteen (14) hours

 7             of on-the-record questioning time. In any deposition of Qualcomm or a current or former

 8             Qualcomm employee in his or her individual capacity noticed in both the ND Cal Litigation

 9             and the SD Cal Litigation, the deposition time limit shall be extended to up to fourteen (14)

10             hours of on-the-record questioning time in total. In any deposition of Apple or a current or

11             former Apple employee in his or her individual capacity, or in any deposition of a CM or a

12             current or a former CM employee in his or her individual capacity noticed in both the ND Cal

13             Litigation and the SD Cal Litigation, the deposition time limit shall be extended to up to

14             fourteen (14) hours of on-the-record time in total.

15        13. A Party that was provided prior notice of a deposition (other than a deposition pursuant to

16             Fed. R. Civ. P. 30(b)(6)) in any Pending Case and did not make a contemporaneous request to

17             depose the witness may not, absent leave of Court, notice a second deposition of the same

18             witness in a Pending Case.

19        14. Notwithstanding the foregoing, to the extent documents relating to a Party’s witness are

20             produced by that Party either within the two week period prior to the commencement of a

21             witness’s deposition or after the commencement or completion of such witness’s deposition,

22             and such documents are material and non-cumulative of documents previously produced, the

23             parties shall as soon as practicable meet and confer to discuss whether to reschedule the

24             deposition, or re-open the deposition (to the extent it has already occurred). If the parties are

25             unable to agree, they shall jointly present the issue to the Court for resolution. With respect

26             to depositions of Apple or CM witnesses, this Paragraph supersedes the fourth sentence of

27

28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1             Paragraph 8(b) of the Stipulated Order Re: Discovery of Electronically Stored Information

 2             and Related Discovery Matters in the FTC Litigation (ECF No. 142).

 3                                                  PLEADINGS AND MOTIONS

 4        15. Any Party that serves or has served a pleading or motion on another Party in any Pending

 5             case shall serve an unredacted copy of the pleading or motion on the Contact Attorneys in

 6             each Pending Case, subject if necessary to the Protective Orders in those cases. This

 7             paragraph shall not apply to pleadings or motions served in the SD Cal Litigation that relate

 8             solely to claims concerning the Patents-In-Suit in the SD Cal Litigation.

 9                               PROTECTION OF CONFIDENTIAL INFORMATION

10        16. The Protective Order in effect in each Pending Case is hereby modified to permit the

11             disclosure and production of Protected Material (as defined therein) to the Contact Attorneys

12             in each Pending Case, and the further use and disclosure of such material by each Party

13             hereto in accordance with the Protective Order(s), including any Supplemental Protective

14             Order(s), in each Pending Case to which it is a Party.

15        17. The Protective Order or Supplemental Protective Order(s) in effect in each Pending Case

16             shall govern the handling by the Parties to such Pending Case of protected material produced

17             hereunder, and, unless modified by the designating party, confidentiality designations applied

18             in one Pending Case shall apply in all Pending Cases. To the extent there are conflicts among

19             the Protective Orders or Supplemental Protective Order(s) regarding the individual

20             employees of a Party who may access Protected Material, the Protective Order or

21             Supplemental Protective Order that applied to the original production of a particular

22             document designated as Protected Material shall control.

23        18. Effective upon its entry in all of the Pending Cases, this Order shall supersede in its entirety

24             the Joint Stipulation and Discovery Coordination Order currently in effect in the FTC

25             Litigation (ECF No. 207) and the MDL Litigation (ECF No. 131).

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28
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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2

 3
     Dated: January 22, 2018
 4

 5
                                                                       By:    /s/ Jennifer Milici
 6                                                                           Jennifer Milici, D.C. Bar No. 987096
                                                                             Federal Trade Commission
 7                                                                           600 Pennsylvania Avenue, N.W.
                                                                             Washington, D.C. 20580
 8                                                                           (202) 326-2912; (202) 326-3496 (fax)
 9                                                                           jmilici@ftc.gov

10

11                                                                            Attorney for Plaintiff FEDERAL TRADE
                                                                              COMMISSION
12

13   Dated: January 22, 2018

14
                                                                       By:    /s/ Kalpana Srinivasan
15
                                                                              Kalpana Srinivasan
16                                                                            Marc M. Seltzer
                                                                              Steven G. Sklaver
17                                                                            Amanda Bonn
                                                                              Oleg Elkhunovich
18                                                                            Krysta Kauble Pachman
                                                                              SUSMAN GODFREY L.L.P.
19                                                                            1900 Avenue of the Stars, Suite 1400
                                                                              Los Angeles, CA 90067
20                                                                            Telephone: (310) 789-3100
                                                                              Facsimile: (310) 789-3006
21                                                                            Email: ksrinivasan@susmangodfrey.com
                                                                              Email: mmseltzer@susmangodfrey.com
22                                                                            Email: ssklaver@susmangodfrey.com
                                                                              Email: abonn@susmangodfrey.com
23                                                                            Email: oelkhunovich@susmangodfrey.com
                                                                              Email: kpachman@susmangodfrey.com
24
                                                                              Joseph Grinstein
25                                                                            SUSMAN GODFREY L.L.P.
                                                                              1000 Louisiana Street # 5100
26                                                                            Houston, TX 77002
                                                                              Telephone: (713) 651-9366
27                                                                            Facsimile: (713) 654-6666
                                                                              Email: jgrinstein@susmangodfrey.com
28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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 1                                                                            Joseph W. Cotchett
                                                                              Adam J. Zapala
 2                                                                            Brian Danitz
                                                                              Mark F. Ram
 3                                                                            Michael A. Montano
                                                                              Toriana S. Holmes
 4                                                                            COTCHETT, PITRE & MCCARTHY
                                                                              840 Malcolm Road, Suite 200
 5                                                                            Burlingame, CA 94010
                                                                              Telephone: (650) 697-6000
 6                                                                            Facsimile: (650) 697-0577
                                                                              Email: jcotchett@cpmlegal.com
 7                                                                            Email: azapala@cpmlegal.com
                                                                              Email: bdanitz@cpmlegal.com
 8                                                                            Email: mram@cpmlegal.com
                                                                              Email: mmontano@cpmlegal.com
 9                                                                            Email: tholmes@cpmlegal.com
10
                                                                              Plaintiffs’ Co-Lead Counsel
11
                                                                              Steve W. Berman
12                                                                            Jeff Friedman
                                                                              Rio Pierce
13                                                                            HAGENS BERMAN SOBOL SHAPIRO
                                                                              LLP
14                                                                            1918 Eighth Avenue, Suite 3300
                                                                              Seattle, WA 98101
15                                                                            Telephone: (206) 268-9320
                                                                              Facsimile: (206) 623-0594
16                                                                            Email: steve@hbsslaw.com
                                                                              Email: jefff@hbsslaw.com
17                                                                            Email: riop@hbsslaw.com
18
                                                                              Plaintiffs’ Steering Committee
19

20
     Dated: January 22, 2018
21

22                                                                     By:    /s/ Seth M. Sproul
23                                                                            Juanita R. Brooks (SBN 75934)
                                                                              Seth M. Sproul (SBN 217711)
24                                                                            FISH & RICHARDSON P.C.
                                                                              12390 El Caamino Real
25                                                                            San Diego, CA 92130
                                                                              Telephone: 858-678-5070
26                                                                            Facsimile: 858-678-5099
                                                                              Email: brooks@fr.com
27                                                                            Email: sproul@fr.com
28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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                                                                             Ruffin B. Cordell (admitted pro hac vice)
 1                                                                           Lauren A. Degnam (admitted pro hac vice)
                                                                             FISH & RICHARDSON P.C.
 2                                                                           The McPherson Building
                                                                             901 15th Street, N.W., 7th Floor
 3                                                                           Washington, D.C. 20005
                                                                             Telephone: 202-783-5070
 4                                                                           Facsimile: 202-783-2331
                                                                             Email: cordell@fr.com
 5                                                                           Email: degnan@fr.com
 6                                                                           William A. Isaacson (admitted pro hac vice)
                                                                             Karen L. Dunn (admitted pro hac vice)
 7                                                                           Amy J. Mauser (admitted pro hac vice)
                                                                             BOIES SCHILLER FLEXNER LLP
 8                                                                           1401 New York Avenue, N.W.
                                                                             Washington, D.C. 20005
 9                                                                           Telephone: 202-237-2727
                                                                             Facsimile: 202-237-6131
10                                                                           Email: wisaascson@bsfllp.com
                                                                             Email: kdunn@bsfllp.com
11                                                                           Email: amauser@bsfllp.com
12                                                                           Attorneys for APPLE INC.
13

14   Dated: January 22, 2018
15
                                                                       By:   /s/ Jason C. Lo
16

17                                                                           Theodore J. Boutrous, Jr. (SBN 132099)
                                                                             Daniel G. Swanson (SBN 116556)
18                                                                           Jason C. Lo (SBN 219030)
                                                                             Jennifer J. Rho (SBN 254312)
19                                                                           Melissa Phan (SBN 266880)
                                                                             GIBSON, DUNN & CRUTCHER LLP
20                                                                           333 South Grand Avenue
                                                                             Los Angeles, CA 90071
21                                                                           Telephone: (213) 229-7000
                                                                             Facsimile: (213) 229-7520
22                                                                           Email: tboutrous@gibsondunn.com
                                                                             Email: dswanson@gibsondunn.com
23                                                                           Email: jlo@gibsondunn.com
                                                                             Email: jrho@gibsondunn.com
24                                                                           Email: mphan@gibsondunn.com

25                                                                           Cynthia E. Richman (admitted pro hac vice)
                                                                             GIBSON, DUNN & CRUTCHER LLP
26                                                                           1050 Connecticut Avenue, N.W.
                                                                             Washington, D.C. 20036
27                                                                           Telephone: (202) 955-8500
                                                                             Facsimile: (202) 467-0539
28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
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                                                                             Email: crichman@gibsondunn.com
 1
                                                                             Attorneys for COMPAL ELECTRONICS,
 2                                                                           INC., FIH MOBILE LTD., HON HAI
                                                                             PRECISION INDUSTRY CO., LTD.,
 3                                                                           PEGATRON CORPORATION, and
                                                                             WISTRON CORPORATION
 4
                                                                             Hugh F. Bangasser (admitted pro hac vice)
 5                                                                           Christopher M. Wyatt (admitted pro hac
                                                                             vice)
 6                                                                           J. Timothy Hobbs (admitted pro hac vice)
                                                                             K&L GATES LLP
 7                                                                           925 Fourth Avenue, Suite 2900
                                                                             Seattle, WA 98104
 8                                                                           Telephone: 206-623-7580
                                                                             Facsimile: 206-370-6371
 9                                                                           Email: hugh.bangasser@klgates.com
                                                                             Email: tim.hobbs@klgates.com
10
                                                                             Attorneys for WISTRON CORPORATION
11

12

13   Dated: January 22, 2018
14
                                                                       By:   /s/ Evan R. Chesler
15

16                                                                           Evan R. Chesler
                                                                             Richard J. Stark
17                                                                           Antony L. Ryan
                                                                             Gary A. Bornstein
18                                                                           J. Wesley Earnhardt
                                                                             Yonatan Even
19                                                                           Vanessa A. Lavely
                                                                             CRAVATH, SWAINE & MOORE LLP
20                                                                           Worldwide Plaza
                                                                             825 Eighth Avenue
21                                                                           New York, NY 10019
                                                                             Tel: (212) 474-1000
22                                                                           Fax: (212) 474-3700
                                                                             echesler@cravath.com
23                                                                           rstark@cravath.com
                                                                             aryan@cravath.com
24                                                                           gbornstein@cravath.com
                                                                             wearnhardt@cravath.com
25                                                                           yeven@cravath.com
                                                                             vlavely@cravath.com
26
                                                                             Karen P. Hewitt
27                                                                           Randall E. Kay
                                                                             Kelly V. O’Donnell
28
     [PROPOSED] JOINT DISCOVERY COORDINATION ORDER
     Case Nos.: 17-cv-00220-LHK (N.D. Cal.), 17-md-02773-LHK (N.D.
     Cal.), 17-cv-00108-GPC (S.D. Cal.), 17-cv-01010-GPC (S.D. Cal.)    12
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                                                                            JONES DAY
 1                                                                          4655 Executive Drive, Suite 1500
                                                                            San Diego, California 92121
 2                                                                          Tel: (858) 314-1200
                                                                            Fax: (844) 345-3178
 3                                                                          kphewitt@jonesday.com
                                                                            rekay@jonesday.com
 4                                                                          kodonnell@jonesday.com
 5                                                                          Robert A. Van Nest
                                                                            Asim M. Bhansali
 6                                                                          Eugene M. Paige
                                                                            Matan Shacham
 7                                                                          Justina Sessions
                                                                            David W. Rizk
 8                                                                          Alexander Dryer
                                                                            KEKER, VAN NEST & PETERS LLP
 9                                                                          633 Battery Street
                                                                            San Francisco, CA 94111
10                                                                          Tel: (415) 391-5400
                                                                            Fax: (415) 397-7188
11                                                                          rvannest@keker.com
                                                                            abhansali@keker.com
12                                                                          epaige@keker.com
                                                                            mshacham@keker.com
13                                                                          jsessions@keker.com
                                                                            drizk@keker.com
14                                                                          adryer@keker.com
15                                                                          Richard S. Taffet
                                                                            MORGAN, LEWIS & BOCKIUS LLP
16                                                                          101 Park Avenue
                                                                            New York, NY 10178-0060
17                                                                          Tel: (212) 309-6000
                                                                            Fax: (212) 309-6001
18                                                                          richard.taffet@morganlewis.com
19                                                                          Willard K. Tom
                                                                            MORGAN, LEWIS & BOCKIUS LLP
20                                                                          1111 Pennsylvania Ave. NW
                                                                            Washington, DC 20004-2541
21                                                                          Tel: (202) 739-3000
                                                                            Fax: (202) 739 3001
22                                                                          willard.tom@morganlewis.com
23                                                                          Donn P. Pickett
                                                                            Geoffrey T. Holtz
24                                                                          MORGAN, LEWIS & BOCKIUS LLP
                                                                            One Market, Spear Street Tower
25                                                                          San Francisco, CA 94105-1126
                                                                            Tel: (415) 442-1000
26                                                                          Fax: (415) 442-1001
                                                                            donn.pickett@morganlewis.com
27                                                                          geoffrey.holtz@morganlewis.com
28
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                                                                            Richard S. Zembek
 1                                                                          Daniel S. Leventhal
                                                                            Talbot Hansum
 2                                                                          Eric B. Hall
                                                                            NORTON ROSE FULBRIGHT US LLP
 3                                                                          1301 McKinney, Suite 5100
                                                                            Houston, Texas 77010
 4                                                                          Tel: (713) 651-5151
                                                                            richard.zembek@nortonrosefulbright.com
 5                                                                          daniel.leventhal@nortonrosefulbright.com
                                                                            talbot.hansum@nortonrosefulbright.com
 6                                                                          eric.hall@nortonrosefulbright.com
 7                                                                          David A. Nelson
                                                                            Stephen Swedlow
 8                                                                          QUINN EMANUEL URQUHART &
                                                                            SULLIVAN, LLP
 9                                                                          500 West Madison St., Suite 2450
                                                                            Chicago, Illinois 60661
10                                                                          Tel: (312) 705-7400
                                                                            Fax: (312) 705-7401
11                                                                          davenelson@quinnemanuel.com
                                                                            stephenswedlow@quinnemanuel.com
12
                                                                            Alexander Rudis
13                                                                          QUINN EMANUEL URQUHART &
                                                                            SULLIVAN, LLP
14                                                                          51 Madison Ave., 22nd Floor
                                                                            New York, NY 10010
15                                                                          Tel: (212) 849-7000
                                                                            Fax: (212) 849-7100
16                                                                          alexanderrudis@quinnemanuel.com
17                                                                          Sean S. Pak
                                                                            QUINN EMANUEL URQUHART &
18                                                                          SULLIVAN, LLP
                                                                            50 California St., 22nd Floor
19                                                                          San Francisco, California 94111
                                                                            Tel: (415) 875-6600
20                                                                          Fax: (415) 875-6700
                                                                            seanpak@quinnemanuel.com
21
                                                                            Attorneys for QUALCOMM
22                                                                          INCORPORATED
23

24

25

26

27

28
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 1                                                     FILER’S ATTESTATION

 2   I, James W. Carlson, am the ECF user whose identification and password are being used to file this

 3   Joint Stipulation and Discovery Coordination Order. In compliance with Civil Local Rule 5-1(i)(3),

 4   I hereby attest that the signatories on this document have concurred in this filing.

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 7                                                                     By:   /s/ James W. Carlson

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         Case 5:17-cv-00220-LHK Document 513 Filed 01/24/18 Page 17 of 21




                                                                SCHEDULE A
 1

 2
     Federal Trade Commission v. Qualcomm Incorporated, Case No. 17-cv-00220-LHK (N.D. Cal.)
 3
     Plaintiff Federal Trade Commission
 4

 5             Jennifer Milici, jmilici@ftc.gov
               J. Alexander Ansaldo, jansaldo@ftc.gov
 6             Joseph R. Baker, jbaker1@ftc.gov
               Wesley G. Carson, wcarson@ftc.gov
 7             Elizabeth A. Gillen, egillen@ftc.gov
               Daniel Matheson, dmatheson@ftc.gov
 8             FEDERAL TRADE COMMISSION
 9             600 Pennsylvania Avenue, N.W.
               Washington, D.C. 20580
10

11   Defendant Qualcomm Incorporated
12
               Gary A. Bornstein, gbornstein@cravath.com
13             J. Wesley Earnhardt, wearnhardt@cravath.com
               Yonatan Even, yeven@cravath.com
14             Vanessa A. Lavely, vlavely@cravath.com
15             Stefan H. Atkinson, satkinson@cravath.com
               James W. Carlson, jcarlson@cravath.com
16             CRAVATH, SWAINE & MOORE LLP
               Worldwide Plaza
17             825 Eighth Avenue
               New York, NY 10019
18

19             Robert A. Van Nest, rvannest@keker.com
               Asim M. Bhansali, abhansali@keker.com
20             Eugene M. Paige, epaige@keker.com
               Matan Shacham, mshacham@keker.com
21             Justina Sessions, jsessions@keker.com
               David W. Rizk, drizk@keker.com
22
               Alexander Dryer, adryer@keker.com
23             KEKER, VAN NEST, & PETERS LLP
               633 Battery Street
24             San Francisco, CA 94111-1809

25             Richard S. Taffet, richard.taffet@morganlewis.com
               MORGAN, LEWIS & BOCKIUS LLP
26
               101 Park Avenue
27             New York, NY 10178-0060

28
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               Willard K. Tom, willard.tom@morganlewis.com
 1             MORGAN, LEWIS & BOCKIUS LLP
 2             1111 Pennsylvania Ave. NW
               Washington, DC 20004-2541
 3
               Donn P. Pickett, donn.pickett@morganlewis.com
 4             Geoffrey T. Holtz, geoffrey.holtz@morganlewis.com
               MORGAN, LEWIS & BOCKIUS LLP
 5
               One Market, Spear Street Tower
 6             San Francisco, CA 94105-1126

 7             Richard S. Zembek, richard.zembek@nortonrosefulbright.com
               Daniel S. Leventhal, daniel.leventhal@nortonrosefulbright.com
 8             Talbot Hansum, talbot.hansum@nortonrosefulbright.com
               Eric B. Hall, eric.hall@nortonrosefulbright.com
 9
               NORTON ROSE FULBRIGHT
10             1301 McKinney, Suite 5100
               Houston, Texas 77010
11
     In re Qualcomm Antitrust Litigation, Case No. 17-md-02773-LHK (N.D. Cal.)
12
     Plaintiffs’ Interim Co-Lead Counsel
13
               Kalpana Srinivasan
14             Marc M. Seltzer
               Steven G. Sklaver
15             Amanda Bonn
               Oleg Elkhunovich
16             Krysta Kauble Pachman
               SUSMAN GODFREY L.L.P.
17             1900 Avenue of the Stars, Suite 1400
               Los Angeles, CA 90067
18             Telephone: (310) 789-3100
               Facsimile: (310) 789-3150
19             Email: ksrinivasan@susmangodfrey.com
               Email: mseltzer@susmangodfrey.com
20             Email: ssklaver@susmangodfrey.com
               Email: abonn@susmangodfrey.com
21             Email: oelkhunovich@susmangodfrey.com
               Email: kpachman@susmangodfrey.com
22

23             Joseph Grinstein
               SUSMAN GODFREY L.L.P.
24             1000 Louisiana Street, Suite 5100
               Houston, TX 77002
25             Telephone: (713) 651-9366
               Facsimile: (713) 654-6666
26             Email: jgrinstein@susmangodfrey.com

27

28
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               Joseph W. Cotchett
 1             Adam J. Zapala
               Brian Danitz
 2             Mark F. Ram
               Michael A. Montano
 3             Toriana S. Holmes
               COTCHETT, PITRE & MCCARTHY
 4             840 Malcolm Road, Suite 200
               Burlingame, CA 94010
 5             Telephone: (650) 697-6000
               Facsimile: (650) 697-0577
 6             Email: jcotchett@cpmlegal.com
               Email: azapala@cpmlegal.com
 7             Email: bdanitz@cpmlegal.com
               Email: mram@cpmlegal.com
 8             Email: mmontano@cpmlegal.com
               Email: tholmes@cpmlegal.com
 9
     Plaintiffs’ Steering Committee
10
               Steve W. Berman
11             Jeff Friedman
               Rio Pierce
12             HAGENS BERMAN SOBOL SHAPIRO LLP
               1918 Eighth Avenue, Suite 3300
13             Seattle, WA 98101
               Telephone: (206) 268-9320
14             Facsimile: (206) 623-0594
               Email: steve@hbsslaw.com
15             Email: jefff@hbsslaw.com
               Email: riop@hbsslaw.com
16
     Defendant Qualcomm Incorporated
17

18             Gary A. Bornstein, gbornstein@cravath.com
               J. Wesley Earnhardt, wearnhardt@cravath.com
19             Yonatan Even, yeven@cravath.com
               Vanessa A. Lavely, vlavely@cravath.com
20
               Stefan H. Atkinson, satkinson@cravath.com
21             James W. Carlson, jcarlson@cravath.com
               CRAVATH, SWAINE & MOORE LLP
22             Worldwide Plaza
               825 Eighth Avenue
23             New York, NY 10019
24
               Robert A. Van Nest, rvannest@keker.com
25             Asim M. Bhansali, abhansali@keker.com
               Eugene M. Paige, epaige@keker.com
26             Justina Sessions, jsessions@keker.com
               David W. Rizk, drizk@keker.com
27             Alexander Dryer, adryer@keker.com
28
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               KEKER, VAN NEST, & PETERS LLP
 1             633 Battery Street
 2             San Francisco, CA 94111-1809

 3             Richard S. Taffet, richard.taffet@morganlewis.com
               MORGAN, LEWIS & BOCKIUS LLP
 4             101 Park Avenue
               New York, NY 10178-0060
 5

 6             Willard K. Tom, willard.tom@morganlewis.com
               MORGAN, LEWIS & BOCKIUS LLP
 7             1111 Pennsylvania Ave. NW
               Washington, DC 20004-2541
 8

 9   Apple Inc. v. Qualcomm Incorporated, Case No. 17-cv-00108-GPC (S.D. Cal.) and Qualcomm
     Incorporated v. Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd.,
10   Pegatron Corporation, and Wistron Corporation, Case No. 17-cv-01010-GPC (S.D. Cal.)
11

12   Plaintiff and Counterclaim Defendant Apple Inc.

13             Amy J. Mauser
14             BOIES SCHILLER FLEXNER LLP
               1401 New York Avenue, N.W.
15             Washington, D.C. 20005
               Phone: 202-237-2727
16             Email: amauser@bsfllp.com
17             Benjamin C. Elacqua
18             FISH & RICHARDSON LLP
               1221 McKinney Street, Suite 2800
19             Houston, TX 77010
               Phone: 713-654-5300
20             Email: Elacqua@fr.com
21
               Apple_Qualcomm_Service@bsfllp.com
22
               Apple/QualcommFRService@fr.com
23

24   Defendants and Counterclaim Plaintiffs Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai
     Precision Industry Co., Ltd., Pegatron Corporation, and Wistron Corporation
25
               Jason Lo, jlo@gibsondunn.com
26             Jennifer Rho, jrho@gibsondunn.com
               Ryan Iwahashi, riwahashi@gibsondunn.com
27             CHPW-1010@gibsondunn.com

28
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         Case 5:17-cv-00220-LHK Document 513 Filed 01/24/18 Page 21 of 21




 1   Defendant and Counterclaim Plaintiff Qualcomm Incorporated

 2             Gary A. Bornstein, gbornstein@cravath.com
               J. Wesley Earnhardt, wearnhardt@cravath.com
 3
               Yonatan Even, yeven@cravath.com
 4             Vanessa A. Lavely, vlavely@cravath.com
               Stefan H. Atkinson, satkinson@cravath.com
 5             James W. Carlson, jcarlson@cravath.com
               CRAVATH, SWAINE & MOORE LLP
 6             Worldwide Plaza
 7             825 Eighth Avenue
               New York, NY 10019
 8
               David A. Nelson, davenelson@quinnemanuel.com
 9             Stephen Swedlow, stephenswedlow@quinnemanuel.com
               Marc L. Kaplan, marckaplan@quinnemanuel.com
10             QUINN EMANUEL URQUHART & SULLIVAN, LLP
               500 West Madison St., Suite 2450
11             Chicago, Illinois 60661

12             Michael L. Fazio, michaelfazio@quinnemanuel.com
               Joseph C. Sarles, josephsarles@quinnemanuel.com
13             QUINN EMANUEL URQUHART & SULLIVAN, LLP
               865 S. Figueroa St., 10th Floor
14             Los Angeles, CA 90017

15             Alexander Rudis, alexanderrudis@quinnemanuel.com
               QUINN EMANUEL URQUHART & SULLIVAN, LLP
16             51 Madison Ave., 22nd Floor
               New York, NY 10010
17
               Sean S. Pak, seanpak@quinnemanuel.com
18             QUINN EMANUEL URQUHART & SULLIVAN, LLP
               50 California St., 22nd Floor
19             San Francisco, California 94111

20             Karen P. Hewitt, kphewitt@jonesday.com
               Randall E. Kay, rekay@jonesday.com
21             Kelly V. O’Donnell, kodonnell@jonesday.com
               JONES DAY
22             4655 Executive Drive, Suite 1500
               San Diego, California 92121
23
               Richard S. Zembek, richard.zembek@nortonrosefulbright.com
24             Daniel S. Leventhal, daniel.leventhal@nortonrosefulbright.com
               Talbot Hansum, talbot.hansum@nortonrosefulbright.com
25             Eric B. Hall, eric.hall@nortonrosefulbright.com
               NORTON ROSE FULBRIGHT
26
               1301 McKinney, Suite 5100
27             Houston, Texas 77010

28
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